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                                          #:117



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 7   DAVID FLORES
 8
 9                       UNITED STATES DISTRICT COURT
10                      CENTRAL DISTRICT OF CALIFORNIA
                              WESTERN DIVISION
11
12
     DAVID FLORES,                                Case No.: 2:20-cv-04271-JAK-MRW
13
                  Plaintiff,
14                                                NOTICE OF SETTLEMENT AS
           vs.                                    TO EQUIFAX INFORMATION
15
                                                  SERVICES, LLC
16
     FINANCIAL PARTNERS CREDIT
17
     UNION; EQUIFAX INFORMATION
18   SERVICES, LLC; TRANSUNION
19   LLC;

20                Defendant(s).
21
           PLEASE TAKE NOTICE that Plaintiff, David Flores, and Defendant,
22
23   Equifax Information Services, LLC, have reached an agreement on all material
24   terms required to settle all of Plaintiff’s claims against Equifax pending in this
25   action. The parties expect to file a stipulation to dismiss all of Plaintiff’s claims
26   asserted against Equifax within the next thirty (30) days.
27
           Plaintiff respectfully requests this Honorable Court vacate all deadlines in
28
     regards to Equifax in the present matter.
                                                 -1-

                                     COMPLAINT FOR DAMAGES
     Case 2:20-cv-04271-JAK-MRW      Document 16         Filed 06/08/20   Page 2 of 2 Page ID
                                          #:118



 1
 2                                         RESPECTFULLY SUBMITTED,
 3   Dated: June 8, 2020                   WESTGATE LAW
 4
 5                                         By: /s/ Matthew A. Rosenthal
 6                                                     Matthew A. Rosenthal
 7                                                     Attorney for Plaintiff
 8
                             CERTIFICATE OF SERVICE
 9
        I hereby certify that on June 8, 2020, I filed the forgoing document with the
10
11   Clerk of the Court using the CM/ECF System. I also provided notice of said filing
12   via e-mail transmission to the following:
13
14
                        Ashley Chalmers
                        Legal Counsel - Litigation
15                      Equifax Inc.
                        O 404-885-8286
16                      C 470-626-6236
                        ashley.chalmers@equifax.com
17
                                                       By:/s/ Matthew A. Rosenthal
18                                                            Matthew A. Rosenthal
19
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                                    COMPLAINT FOR DAMAGES
